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 1   [Submitting Counsel on Signature Page]
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 8                           IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11    IN RE: SOCIAL MEDIA ADOLESCENT                   MDL No. 3047
      ADDICTION/PERSONAL INJURY
12    PRODUCTS LIABILITY LITIGATION                     Case No. 4:22-03047-YGR
13                                                      OMNIBUS SEALING STIPULATION
                                                        PURSUANT TO THE ORDER GRANTING
14    This Document Relates to:                         MOTION TO FILE UNDER SEAL;
                                                        SETTING SEALING PROCEDURES
15    ALL ACTIONS                                       FOR ECF 904
16

17

18           Pursuant to the Court’s Order Granting Motion to File Under Seal; Setting Sealing
19   Procedures (“Sealing Procedures Order”) (ECF 341), the Parties, through their undersigned
20   counsel, hereby submit this Omnibus Sealing Stipulation.
21          The Parties declare in support of this Stipulation:
22          1.     In accordance with Section II of the Sealing Procedures Order, entitled Post-
23   Briefing Omnibus Sealing Procedures, the Parties have met and conferred regarding the Parties’
24   proposed sealing and redactions in the Defendants’ Amended Notice of Replacement Personal
25   Injury Bellwether Discovery Pool Selections (ECF 904) filed on May 28, 2024.
26          2.     In accordance with the Sealing Procedures Order, the Parties have created the
27   attached Chart listing the portion of the Defendants’ Notice of Replacement Personal Injury
28
                                                             JOINT STIPULATION MODIFYING TEMPORARY SEALING
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 1   Bellwether Discovery Pool Selections (ECF 899) and Defendants’ Amended Notice of

 2   Replacement Personal Injury Bellwether Discovery Pool Selections (ECF 904) to be redacted.

 3          3.      The Parties have limited proposed redactions to Protected Health Information as

 4   defined by the Parties’ Stipulated Second Modified Protective Order. (ECF 665).

 5          4.      In addition, the Parties have limited proposed redactions to materials that are not

 6   currently on the public docket.

 7          5.      Plaintiffs state the following:

 8                  a.      Protected Health Information (“PHI”): “has the meaning set forth in 45

 9   C.F.R. §§ 160.103 and 164.501…and includes but is not limited to individually identifiable health

10   information, including demographic information, relating to either (a) the past, present, or future

11   physical or mental condition of an individual; (b) the provision of health care to an individual…”

12   Stipulated Second Modified Protective Order. ECF No. 665.

13                  b.      In A.C. v. City of Santa Clara, No. 13-CV-03276-HSG, 2015 WL 4076364,

14   at *2 (N.D. Cal. July 2, 2015), Judge Gilliam found that when it comes to medical records,

15   “compelling confidentiality concerns outweigh the presumption of public access to court

16   records.” See Dalton v. Cnty. of San Diego, No. 3:21-CV-2143 W (WVG), 2024 WL 1319719, at

17   *1 (S.D. Cal. Mar. 27, 2024) (to the extent the exhibits identify a minor and implicate her

18   criminal and mental health history, the documents may be sealed.); San Ramon Reg’l Med. Ctr.,

19   Inc. v. Principal Life Ins. Co., No. 10–cv–02258–SBA, 2011 WL 89931, at *1 n.1 (N.D.Cal. Jan.

20   10, 2011) (finding that confidentiality of medical records under the Health Insurance Portability

21   and Accountability Act of 1996 outweighed Kamakana presumption in favor of public access to

22   court records); Ballou v. McElvain, No. 3:19-CV-05002-DGE, 2023 WL 8236530, at *2 (W.D.

23   Wash. Nov. 28, 2023) (concluding that there is great need to protect sensitive medical

24   information from public disclosure such as plaintiff's mental state, including mental health

25   symptoms). See also Liaw v. United Airlines, Inc., No. 19-CV-00396-WHA, 2019 WL 6251204,

26   at *10 (N.D. Cal. Nov. 22, 2019) (private medical records sealed under higher ‘compelling

27   reason’ standard); Pratt v. Gamboa, No. 17-CV-04375-LHK, 2020 WL 8992141, at *2 (N.D. Cal.

28   May 22, 2020). (‘compelling reasons’ justify sealing Plaintiff's medical records which are deemed
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 1   confidential under the Health Insurance Portability and Accountability Act of 1996); Bruce v.

 2   Azar, 389 F. Supp. 3d 716, 727 (N.D. Cal. 2019), aff’d, 826 F. App’x 643 (9th Cir. 2020) (courts

 3   have found under ‘compelling reason’ standard that a party’s privacy interests in medical records

 4   and private information outweigh the public’s interest in access.); Woods v. City of Hayward, No.

 5   19-CV-01350-JCS, 2021 WL 4061657, at *20 (N.D. Cal. Sept. 7, 2021) (to the extent proposed

 6   redactions are based on medical privacy, privacy interests related to juvenile correctional records,

 7   or the privacy protections of Rule 5.2, plaintiff has shown ‘compelling reasons’ to maintain that

 8   material under seal and his requests are narrowly tailored). See also In re Flint Water Cases, No.

 9   517CV10164JELMKM, 2021 WL 2254064, at *2 (E.D. Mich. May 20, 2021) (private medical

10   information of the bellwether plaintiffs, identifying information of minors, and addresses of

11   minor plaintiffs, all is appropriate to redact and/or seal).

12                   c.      PHI, which is already subject to the Stipulated Second Modified Protective

13   Order, should remain sealed in the Defendants’ Amended Notice of Replacement Personal Injury

14   Bellwether Discovery Pool Selections, including the statistical analysis and narratives detailing

15   specific “past, present, or future physical or mental conditions” and “the provision of health care”

16   such as hospitalizations. See ECF No. 665. The bellwether plaintiffs, all of whom were injured as

17   minors, should be protected from any potential embarrassment resulting from having their PHI

18   linked to their identities as recognized by this Court and well-established Ninth Circuit precedent.

19           6.      Defendants’ position is that Plaintiffs’ medical histories are not subject to absolute

20   protection, given that Plaintiffs have put those medical histories at issue by filing these lawsuits.

21   See, e.g., Howard v. Cox, 2021 WL 4487603, at *2 (D. Nev. Sept. 30, 2021) (sealing medical

22   records but declining to “require the parties to redact the parts of those records that they quote or

23   paraphrase in their briefs because those points are relevant to [plaintiff’s] claims in this action”);

24   Cole v. Janssen Pharms., Inc., No. 15-CV-57, 2017 WL 2929523, at *3 (E.D. Wis. July 10, 2017)

25   (“To the extent that the information from the medical records is incorporated into other

26   documents filed by the parties or orders issued by this court, that information is relevant to the

27   issues raised in the case and should be available to the public.”). Nonetheless, to obviate the need

28   for the Court to address a sealing dispute, Defendants agree to seal certain material from these
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 1   briefs without prejudice to their ability to argue that such material should be unsealed in

 2   subsequent filings.

 3          THEREFORE, in accordance with the Sealing Procedures Order, the Parties stipulate and

 4   respectfully request that the Court accept their undisputed requests to maintain the redactions in

 5   the Defendants’ Amended Notice of Replacement Personal Injury Bellwether Discovery Pool

 6   Selections (ECF 899) and Defendants’ Amended Notice of Replacement Personal Injury

 7   Bellwether Discovery Pool Selections (ECF 904), as set forth in attached Chart and the duly

 8   submitted Proposed Order Addressing All Undisputed Sealing Requests emailed to the Court’s

 9   proposed order inbox.

10          IT IS SO STIPULATED AND AGREED

11   DATED: June 7, 2024                              Respectfully submitted,
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 1    PURSUANT TO STIPULATION, IT IS SO ORDERED
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 3    Dated

 4                                      Hon. Yvonne Gonzalez Rogers

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